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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF VIRGINIA
                              NORFOLK DIVISION

                                            CASE NO.:
NORFOLK SOUTHERN RAILWAY
COMPANY,                                    COMPLAINT
                           Plaintiff,
             v.
SURFACE TRANSPORTATION BOARD and
UNITED STATES OF AMERICA,
                           Defendants.


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       Plaintiff Norfolk Southern Railway Company (NSR) alleges:

                                        INTRODUCTION

       1.      This complaint challenges two rulings in the Surface Transportation Board’s (STB

or Board) decision in Norfolk Southern Railway Company—Petition for Declaratory Order, STB

No. FD 36522, Decision, 2022 WL 2191932 (June 17, 2022) (STB Decision), attached as Exhibit

A. In that decision, the STB erroneously held that its predecessor, the Interstate Commerce

Commission (ICC), had not authorized NSR to control one of its subsidiaries, the Norfolk &

Portsmouth Belt Line Railway Company (Belt Line). The STB Decision is contrary to ICC and

STB regulations and inadequately explained, making it arbitrary, capricious, and invalid. See 5

U.S.C. § 706(2)(A). Although NSR believes that the United States Court of Appeals for the District

of Columbia Circuit has exclusive jurisdiction to review challenges to the relevant STB rulings

and thus has also challenged the STB Decision before that court, see Norfolk S. Ry. Co. v. STB,

No. 22-1209 (D.C. Cir. Aug. 15, 2022), NSR files this complaint protectively given the 90-day

window for seeking judicial review. See 28 U.S.C. § 1336(c).

       2.       The STB Decision follows this Court’s referral to the Board, in CSX

Transportation, Inc. v. Norfolk Southern Railway Co. et al., No. 2:18-cv-00530, ECF No. 395

(E.D. Va.) (Davis, C.J.), of questions relating to antitrust immunity. In CSX, CSX Transportation,

Inc. (CSX), claims that NSR violated federal antitrust and state conspiracy laws by conspiring with

Belt Line to deny CSX rail access to intermodal shipping at the Norfolk International Terminals.

But those claims are barred by the statutory immunity for rail carriers participating in transactions

approved or exempted by the ICC or STB. See 49 U.S.C. § 11321(a). NSR thus moved to dismiss

CSX’s complaint, or, in the alternative, to refer immunity-related questions to the STB. NSR

explained that the ICC had authorized NSR to control Belt Line in 1982 when it approved a

consolidation of rail carriers: the ICC granted NWS Enterprises, Inc. (NWS), a noncarrier holding

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company, authority to control Norfolk and Western Railway Company (NW) and Southern

Railway Company (SRC). (NWS was renamed Norfolk Southern Corporation (NSC) during the

proceedings, and SRC became NSR and gained control through later transactions.) That approval,

NSR continued, made NSR immune from claims arising from its control of Belt Line under

§ 11321(a).

       3.      In response, this Court referred two questions to the STB:

       [1] Did the 1982 consolidation, whereby NSC acquired an indirect 57 percent
       interest in Belt Line, involve the ICC/STB granting NSC “approval” to control Belt
       Line, and if so, [2] did such authorized “control” render it necessary for antitrust
       and/or state conspiracy laws to yield, whether because Belt Line was then deemed
       a “franchise” of NSC, or for any other reason?

CSX, No. 2:18-cv-00530, ECF No. 395, at 29. NSR then petitioned the STB to institute declaratory

proceedings.

       4.      Once the STB agreed to address NSR’s petition on the referred questions, NSR also

raised two additional questions not raised before this Court. This Court’s referral order asked

whether the ICC authorized NSC (and thus the later entity NSR) to control Belt Line in the 1982

consolidation. Before the STB, however, NSR additionally argued that the ICC and STB

authorized NSR to control Belt Line in two subsequent transactions known as corporate-family-

exemption transactions—one in 1991 and one in 1998.

       5.      The STB rejected NSR’s arguments. It concluded that the ICC did not authorize

NSR to control Belt Line in the 1982 consolidation. It also concluded that neither the ICC, by

approving the 1991 corporate-family-exemption transaction, nor the STB, by approving the 1998

corporate-family-exemption transaction, authorized NSR to control Belt Line.

       6.      NSR now brings this complaint protectively under 28 U.S.C. § 1336(b),

challenging the STB’s rejection of its arguments about the 1991 and 1998 transactions. NSR first

asks the Court to hold this appeal in abeyance pending the D.C. Circuit’s resolution of Norfolk

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Southern Railway Co., No. 22-1209. If the D.C. Circuit concludes that it does not have exclusive

jurisdiction over NSR’s challenges, however, then NSR asks the Court to review, vacate, and set

aside the STB Decision on the grounds that the STB’s rejection of its 1991 and 1998 arguments

was arbitrary, capricious, an abuse of discretion, and otherwise not in accordance with law under

the Administrative Procedure Act, 5 U.S.C. § 706(2)(A).

                                             PARTIES

       7.      Plaintiff NSR is a Class 1 railroad operating in the eastern United States. NSR is

incorporated under Virginia law and its principal place of business is in Atlanta, Georgia. Among

other things, NSR transports containers to and from East Coast ports, like the Port of Virginia,

where ships carry them in interstate and international commerce.

       8.      Defendant STB is an independent federal agency charged with the economic

regulation of various modes of surface transportation, primarily freight rail. The STB replaced the

ICC in 1996.

       9.      Defendant United States of America acted through its agency, the STB.

                                 JURISDICTION AND VENUE

       10.     NSR brings this complaint protectively, believing that the D.C. Circuit has

exclusive jurisdiction and is the proper venue for NSR’s claims under 28 U.S.C. §§ 2342(5) and

2343. If the D.C. Circuit does not have jurisdiction, however, then this Court must have jurisdiction

under 28 U.S.C. § 1336(b).

       11.     Under 28 U.S.C. § 1336(b), a district court that “refers a question or issue to the

Surface Transportation Board for determination, … shall have exclusive jurisdiction of a civil

action to enforce, enjoin, set aside, annul, or suspend, in whole or in part, any order of the Surface

Transportation Board arising out of such referral.” But for issues outside the scope of the referral,

“[t]he court of appeals … has exclusive jurisdiction to enjoin, set aside, suspend (in whole or in

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part), or to determine the validity of … all rules, regulations, or final orders of the Surface

Transportation Board ….” 28 U.S.C. § 2342(5); see also id. § 2321. The D.C. Circuit has made

clear that “issues expressly set out in the district court’s referral order are reviewed by the district

court” under § 1336(b), while “[t]he court of appeals reviews all other issues” under §§ 2321(a)

and 2342(5). McCarty Farms, Inc. v. STB, 158 F.3d 1294, 1300 (D.C. Cir. 1998).

       12.     Because the 1991 and 1998 transactions were outside the scope of this Court’s

referral of the 1982 question to the STB, NSR has filed a petition for review in the D.C. Circuit.

See Pet. for Review, Norfolk S. Ry. Co., No. 22-1209.

       13.     If the D.C. Circuit does not have jurisdiction under §§ 2321(a) and 2342(5),

however, then this Court has jurisdiction under § 1336(b) because the STB issued the conclusions

as to the 1991 and 1998 transactions that NSR challenges in this complaint in the same decision in

which it addressed the questions as to the 1982 consolidation referred to it by this Court. This

complaint is proper to protect jurisdiction before a federal court given the possible jurisdictional

dispute. Cf. Western Union Tel. Co. v. FCC, 773 F.2d 375, 380 (D.C. Cir. 1985) (urging parties to

file protective petitions when jurisdictional questions arise); Recreation Vehicle Indus. Ass’n v.

EPA, 653 F.2d 562, 569 (D.C. Cir. 1981) (“As a general rule, of course, counsel would be wise to

file a protective petition for review ….”).

       14.     If this Court has jurisdiction under § 1336(b), then venue is also proper in this Court

under § 1336(b), because “the court which referred the question or issue shall have exclusive

jurisdiction.” 28 U.S.C. § 1336(b).

                                           STATEMENT

I.     Legal background

       15.     By statute, “[a]cquisition of control of a rail carrier by any number of rail carriers”

“may be carried out only with the approval and authorization of the Board.” 49 U.S.C.

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§ 11323(a)(3). A carrier that obtains STB approval (or obtained ICC approval), or an exemption

from STB or ICC approval, “is exempt from the antitrust laws and from all other law, including

State and municipal law, as necessary to let that rail carrier … carry out the transaction, hold,

maintain, and operate property, and exercise control or franchises acquired through the

transaction.” Id. § 11321(a).

       16.     Under ICC/STB regulations in effect in 1991 and 1998 and today, “control” means

       the possession directly or indirectly, of the power to direct or cause the direction of
       the management and policies of a company, whether such power is exercised
       through one or more intermediary companies, or alone, or in conjunction with, or
       pursuant to an agreement, and whether such power is established through a majority
       of minority ownership or voting of securities, common directors, officers or
       stockholders, voting trusts, holding trusts, associated companies, contract or any
       other direct or indirect means.

49 C.F.R. § 1201ii(5)(b). Indeed, the STB considers control a multifaceted, “flexible” inquiry,

taking into account factors like “distribution of the remaining stock, the ability to elect directors

and otherwise control or influence decision-making machinery, and the existence of management,

marketing, operating and financial ties.” Paducah & Louisville Ry., Inc.—Control Exemption—

Paducah & Ill. R.R., STB No. FD 33362, Decision, 1997 WL 487405, at 2 (Aug. 12, 1997).

       17.     In 1991 and 1998, just as today, proposed transactions under § 11323 involving

more than one common rail carrier were classified as major, significant, minor, or exempt. 49

C.F.R. § 1180.2 (1985). “Exempt” transactions did (and do) not require prior review and approval

by the ICC or STB. Id. § 1180.2(d). Instead, the applicants must simply file a notice with the

agency, id., which would then publish a notice of exemption, thereby approving it, id.

§ 1180.4(g)(iii). One class of exempt transactions was (and is) “[t]ransactions within a corporate

family that do not result in adverse changes in service levels, significant operational changes, or a

change in the competitive balance with carriers outside the corporate family,” also known as the

corporate-family exemption. Id. § 1180.2(d)(3). In other words, rail carriers could (and can)

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reorganize their corporate family structure when doing so did (or does) not risk certain harms to

outside entities.

II.     Factual background

        A.      The 1982 consolidation

        18.     On December 4, 1980, NW and SRC, along with other initiating parties, filed an

application asking the ICC to authorize NWS to acquire control of NW and its subsidiaries and

SRC and its certain companies designated as “consolidated system companies.” The application’s

appendix mentioned Belt Line along with all the other railroad companies in which NW or SRC

held an ownership interest. It indicated that NW owned 28.57% of Belt Line, SRC owned 14.29%,

and Norfolk Southern (a subsidiary of SRC) owned 14.28%, for a total of 57.14%.

        19.     On March 19, 1982, the ICC granted the application.

        20.     As the appendix to the application indicated, after the 1982 consolidation, NSC

controlled 57.14% of Belt Line based on combined total shares. The 1982 consolidation also gave

NSC the votes to elect the majority of the members on the Board of Directors of Belt Line and the

ability to direct the Board whom to appoint as President.

        B.      The 1991 and 1998 transactions

        21.     In 1991, SRC changed its name to NSR and the ICC granted NSR authority to

directly control NW pursuant to the corporate-family exemption, 49 C.F.R. § 1180.2(d)(3). This

transaction placed NSR in direct control of former-SRC’s 28% of Belt Line and indirect control

of NW’s 28% share of Belt Line.

        22.     In 1998, the STB (which had replaced the ICC in 1996) granted approval, again

under the corporate-family exemption, for NW to merge into NSR. The transaction combined

NW’s 28% share of Belt Line with NSR’s 28% share to give NSR direct control over 57% of Belt

Line.

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III.    Procedural background

        A.     CSX sues NSR and Belt Line for conspiring to deprive CSX of rail access to
               the Norfolk International Terminals.

        23.    On October 4, 2018, CSX sued NSR and Belt Line in this Court, alleging antitrust,

conspiracy, and contract law violations arising from NSR and Belt Line’s alleged actions to

deprive CSX of rail access to the Norfolk International Terminals. CSX, No. 2:18-cv-00530, ECF

No. 1 (Davis, C.J.).

        24.    NSR moved to dismiss, arguing that it is immune from CSX’s antitrust and

conspiracy claims under 49 U.S.C. § 11321(a) because the ICC had authorized it to control Belt

Line as part of the 1982 railway consolidation. CSX, No. 2:18-cv-00530, ECF No. 116, at 9-10.

Alternatively, NSR asked this Court to refer the questions to the STB. Id. at 11-13.

        25.    On May 18, 2021, this Court referred questions about antitrust immunity from the

1982 consolidation to the STB. CSX, No. 2:18-cv-00530, ECF No. 395. The Court first noted that

“the STB and federal courts have repeatedly held that § 11321 [immunity] is not predicated on the

agency ‘announcing that a particular exemption is necessary’; rather, the immunity exemption is

‘self-executing.’” Id. at 18-19 (citation omitted). The Court concluded that the STB was the

“proper authority to clarify the contours of the 1982 consolidation.” Id. at 22. In the Court’s view,

the parties presented “conflicting defensible positions regarding a matter squarely within the

STB’s expertise,” making referral “not only appropriate but arguably necessary.” Id. at 25-26.

        26.    The two questions the Court referred to the STB were:

        [1] Did the 1982 consolidation, whereby NSC acquired an indirect 57 percentage
        interest in Belt Line, involve the ICC/STB granting NSC “approval” to control Belt
        Line, and [2] if so, did such authorized “control” render it necessary for antitrust
        and/or state conspiracy laws to yield, whether because Belt Line was then deemed
        a “franchise” of NSC, or for any other reason?

Id. at 29.


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       B.      The STB determines that the ICC did not authorize NSC to control Belt
               Line.

       27.     On June 21, 2021, NSR filed a petition with the STB asking the Board to address

in a declaratory order the issues this Court had referred to it.

       28.     On August 9, 2021, the STB instituted a declaratory order proceeding to address

those questions. STB No. FD 36522.

       29.     Before the STB, NSR first argued that the ICC authorized it to control Belt Line in

the 1982 consolidation, just as it had before this Court. NSR Opening Statement, STB No. FD

36522, 4-12; NSR Reply, STB No. FD 36522, 32-36; see CSX, No. 2:18-cv-00530, ECF No. 116,

at 9-13.

       30.     NSR additionally raised two issues it had not presented to this Court in CSX. NSR

argued that the ICC in 1991 and the STB in 1998 had granted corporate-family-reorganization

exemptions authorizing NSR to control Belt Line. NSR Opening Statement 13-14; NSR Reply 38-

39. After the 1982 consolidation, NSC controlled Belt Line by owning a majority share and

appointing the majority of the Board of Directors. In 1991, NSR explained, the ICC authorized it

to control Belt Line through the corporate-family-exemption process by allowing NSR, which then

directly owned 28.58% of Belt Line, to directly control NW, which owned 28.57% of Belt Line.

NSR Opening Statement 13-14; NSR Reply 38-39. NSR further explained that the STB authorized

NW to merge into NSR in 1998, giving NSR direct control of 57% of Belt Line. NSR Opening

Statement 14; NSR Reply 39. In both the 1991 and 1998 transactions, the agency enabled NSR to

further consolidate its control over Belt Line.

       31.     Because the ICC and STB had authorized it to control Belt Line, NSR explained,

NSR and Belt Line were immune from antitrust scrutiny and state conspiracy law in CSX under

49 U.S.C. § 11321(a). NSR Opening Statement 15-19.


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       32.     On June 17, 2022, the STB concluded that the ICC did not authorize NSR to control

Belt Line and so the second question about immunity was moot. See Ex. A.

       33.     The STB began by answering the first question referred by this Court, determining

that the ICC did not grant NSR control over Belt Line in the 1982 consolidation because the

applicants had only explicitly requested control authorization for the consolidated system

companies.

       34.     The STB then turned to NSR’s arguments on the issues not referred—that the 1991

and 1998 transactions granted NSR control over Belt Line. The Board asserted without explanation

that the corporate-family exemption contained an “implicit” requirement that “the member of the

corporate family whose ownership is changing as a result of the transaction was previously

authorized to be controlled by a member of the corporate family.” STB Decision 16. The STB thus

concluded that the exemption “could not have been used to grant authority to any member of

NSC’s corporate family to control [Belt Line] unless authority had previously been granted for

some other member of that corporate family to control [Belt Line].” Id. In rejecting NSR’s

argument, the STB noted that “NSR’s interpretation would allow the corporate family exemption

to effectively nullify” other approval requirements and would undermine the STB and the public’s

notice of grants of control authorization. Id.

       C.      NSR petitions the D.C. Circuit for review of the STB’s conclusions about the
               1991 and 1998 transactions.

       35.     On August 15, 2022, NSR filed a petition for review before the D.C. Circuit of the

STB’s conclusions about the 1991 and 1998 transactions. See Pet. for Review, Norfolk S. Ry. Co.,

No. 22-1209. NSR has asked the D.C. Circuit to review, vacate, and set aside the STB Decision

on the grounds that the STB’s rejection of its 1991 and 1998 arguments was arbitrary, capricious,

an abuse of discretion, and otherwise not in accordance with law under the Administrative


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Procedure Act, 5 U.S.C. § 706(2)(A). NSR did not seek review of the STB’s resolution of the issue

this Court referred to the STB—whether the 1982 consolidation authorized NSR to control Belt

Line—and this protective complaint does not seek review of that referred issue, either. See Pet. for

Review 4, Norfolk S. Ry. Co., No. 22-1209.

        36.     As explained in its petition, NSR believes that the D.C. Circuit has jurisdiction

under 28 U.S.C. §§ 2321(a) and 2342(5). “[I]ssues expressly set out in the district court’s referral

order are reviewed by the district court” under 28 U.S.C. § 1336(b), while “[t]he court of appeals

reviews all other issues” under §§ 2321(a) and 2342(5). McCarty, 158 F.3d at 1300.

        37.     NSR files this complaint in an abundance of caution in case this Court instead has

exclusive jurisdiction over NSR’s claims under § 1336(b).

        38.     CSX filed a notice of NSR’s D.C. Circuit petition before this Court in CSX, No.

2:18-cv-00530, ECF No. 412.

                                     CAUSES OF ACTION

                                            COUNT I

               Violation of Administrative Procedure Act, 5 U.S.C. § 706(2)(A):
                              Decision Contrary to Regulations

        39.      Plaintiff NSR repeats and realleges the allegations in paragraphs 1 through 38 as

if fully set forth herein.

        40.     The Administrative Procedure Act provides that “[t]he reviewing court shall …

hold unlawful and set aside agency action, findings, and conclusions found to be … arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

        41.     An agency acts in an arbitrary and capricious manner if its “application of the

relevant standards was ‘plainly erroneous or inconsistent with’ the regulations.” Almy v. Sebelius,

679 F.3d 297, 307 (4th Cir. 2012) (citation omitted).


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       42.     The STB’s application of the corporate-family-exemption regulation, 49 C.F.R.

§ 1180.2(d)(3), was arbitrary and capricious. The regulation provides that “[a] transaction is

exempt if it is within one of the nine categories described,” including “[t]ransactions within a

corporate family that do not result in adverse changes in service levels, significant operational

changes, or a change in the competitive balance with carriers outside the corporate family.” NSR’s

1991 and 1998 corporate-family-exemption transactions fulfilled both criteria: both transactions

were within NSR’s corporate family and did not result in any of the prohibited changes. And ever

since the 1982 consolidation, NSC or NSR has held control over Belt Line through its 57%

ownership share and appointment of the majority of the Board of Directors. See 49 C.F.R.

§ 1201ii(5)(b). The 1991 transaction authorized NSR to control NW and therefore approved NSR’s

direct control of SRC’s 28% of Belt Line and indirect control of NW’s 28% share of Belt Line.

The 1998 transaction enabled NW to merge into NSR, combining NW’s 28% share of Belt Line

with NSR’s 28% share to give NSR direct control over 57% of Belt Line. Both the 1991 and 1998

transactions further consolidated NSR’s control over Belt Line, and by allowing those transactions,

the STB approved NSR’s control over Belt Line.

       43.     In rejecting NSR’s arguments, the STB asserted that it was “implicit” in the

corporate-family-exemption regulation “that the member of the corporate family whose ownership

is changing as a result of the transaction was previously authorized to be controlled by a member

of the corporate family.” STB Decision 16. But the corporate-family-exemption regulation does

not mention, much less purport to require, prior authorization of control.

       44.     The STB’s conclusion is arbitrary and capricious because it is erroneous and

inconsistent with the regulation. See Almy, 679 F.3d at 307. The STB’s reasoning adds a new

requirement found nowhere in the regulation.



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                                            COUNT II

               Violation of Administrative Procedure Act, 5 U.S.C. § 706(2)(A):
              Failure to Explain or Otherwise Exercise Reasoned Decisionmaking

        45.     Plaintiff NSR repeats and realleges the allegations in paragraphs 1 through 44 as if

fully set forth herein.

        46.     “The ‘requirement that agency action not be arbitrary and capricious’” under 5

U.S.C. § 706(2)(A) “includes a requirement that the agency adequately explain its result.”

Snohomish County v. STB, 954 F.3d 290, 301 (D.C. Cir. 2020) (quoting Jost v. STB, 194 F.3d 79,

85 (D.C. Cir. 1999)). The reviewing court “may not supply a reasoned basis for the agency’s

decision that the agency itself has not given.” Id. (quoting Jost, 194 F.3d at 85).

        47.     Even assuming that the corporate-family-exemption regulation contains an

“implicit” requirement “that the member of the corporate family whose ownership is changing as

a result of the transaction was previously authorized to be controlled by a member of the corporate

family,” STB Decision 16; see 49 C.F.R. § 1180.2(d)(3), the STB did not adequately explain that

conclusion. In just a single paragraph, the STB determined that NSR’s interpretation of the

corporate-family-exemption regulation would cause absurd results, but the STB didn’t reconcile

its “implicit” additional requirement with the text of the regulation it was interpreting. See STB

Decision 16.

        48.     Because the STB did not “articulate the reasoning behind its decision with

sufficient clarity to enable petitioners and this court to understand the basis for its decision,”

Snohomish County, 954 F.3d at 301 (citation omitted), the STB Decision is arbitrary and

capricious.




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                                   PRAYER FOR RELIEF

       49.    NSR asks the Court to hold this case in abeyance pending the D.C. Circuit’s

resolution of Norfolk Southern Railway Co., No. 22-1209.

       50.    If the D.C. Circuit determines that it does not have jurisdiction in Norfolk Southern

Railway Co., No. 22-1209, then NSR asks the Court to set aside and vacate the STB Decision as

arbitrary and capricious, an abuse of discretion, and otherwise not in accordance with law under

the Administrative Procedure Act, 5 U.S.C. § 706(2)(A).



Date: September 15, 2022                  Respectfully submitted,

                                          NORFOLK SOUTHERN RAILWAY COMPANY

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